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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY

 KAREN MERROW, THOMAS JORDAN,
 and MICHAEL CROSS, on behalf of the
 P.L. Marketing, Inc. Employee Stock
 Ownership Plan, and on behalf of a class of
 all other persons similarly situated,
                                                        Case No.
                        Plaintiffs,

 v.

 HORIZON BANK d/b/a/ HORIZON
 TRUST & INVESTMENT
 MANAGEMENT, THOMAS J. SCHUH,
 and TIMOTHY M. LOGSDON,

                        Defendants.



                                          COMPLAINT
       Plaintiffs Karen Merrow, Thomas Jordan, and Michael Cross, by their undersigned

attorneys, on behalf of the P.L. Marketing, Inc. Employee Stock Ownership Plan, and similarly

situated participants in the Plan and their beneficiaries, allege upon personal knowledge, the

investigation of their counsel, their counsel’s knowledge and experience in ESOPs and the

practices of ESOP trustees and their advisors, and upon information and belief as to all other

matters, as to which allegations they believe substantial evidentiary support will exist after a

reasonable opportunity for further investigation and discovery, as follows:

                                         BACKGROUND

       1.      Plaintiffs Karen Merrow, Thomas Jordan, and Michael Cross (“Plaintiffs”) bring

this suit against Horizon Bank d/b/a Horizon Trust & Investment Management (“Horizon”), the

fiduciary trustee for the P.L. Marketing, Inc. Employee Stock Ownership Plan (the “Plan” or the

“ESOP”) when the Plan acquired shares of P.L. Marketing, Inc. (“PLM”) in 2017; and Thomas J.

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Schuh and Timothy M. Logsdon (“Selling Shareholders”), the party in interest shareholders from

whom the Plan acquired the stock.

       2.      Plaintiffs are participants in the Plan, as defined by ERISA § 3(7), 29 U.S.C.

§ 1002(7), who were vested under the terms of the Plan in shares of PLM allocated to their

accounts in the Plan.

       3.      This action is brought under Sections 404, 406, 409, 410, and 502(a) of the

Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §§ 1104,

1106, 1109, 1110, and 1132(a), for losses suffered by the Plan and its participants caused by

Horizon when it caused the Plan to buy shares of PLM for more than fair market value, and other

plan-wide relief.

       4.      As alleged below, the Plan has been injured and its participants have been

deprived of hard-earned retirement benefits resulting from Defendants’ violations of ERISA.

       5.      At all relevant times, PLM was a privately held company and a party in interest to

the Plan. PLM adopted the Plan effective January 1, 2017. On June 6, 2017, the Plan purchased

from the party in interest Selling Shareholders 1,000,000 shares of PLM’s common stock for

$53,000,000, which was financed by a loan from PLM of $53,000,000 with an interest rate of

3.50% annually to be repaid over 20 years (the purchase and loan transactions together, the

“ESOP Transaction” or “Transaction”).

       6.      As a result of the ESOP Transaction, PLM became 100% owned by the ESOP and

the PLM employees who participated in it.

       7.      Horizon represented the Plan and its participants as fiduciary trustee in the ESOP

Transaction. It had sole and exclusive authority to negotiate the terms of the ESOP Transaction

and to authorize the Transaction on the Plan’s behalf. The stock and loan transactions that



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Horizon caused the Plan to enter into with parties in interest are per se violations of ERISA’s

prohibited transaction rule, ERISA § 406(a), 29 U.S.C. § 1106(a).

        8.      The ESOP Transaction allowed Selling Shareholders to unload their interests in

PLM above fair market value, for the reasons explained below, and saddle the Plan with tens of

millions of dollars of debt over a 20-year repayment period to finance the Transaction. Horizon

failed to fulfill its ERISA duties, as trustee and fiduciary, to the Plan and its participants,

including Plaintiffs.

        9.      Selling Shareholders are parties in interest who sold shares in the ESOP

Transaction and received proceeds from the Transaction. Selling Shareholders are liable under

ERISA for knowingly participating in the prohibited stock transaction and Horizon’s breaches of

fiduciary duty under ERISA.

        10.     Through this action, Plaintiffs seek to enforce their rights under ERISA and the

Plan, to recover the losses incurred by the Plan and the improper profits realized by Defendants

resulting from their causing prohibited transactions and breaches of fiduciary duty or knowingly

participating in prohibited transactions and breaches of fiduciary duty, and equitable relief,

including reformation of ESOP Transaction contracts, rescission of the ESOP Transaction, and

enjoining Horizon from acting as a fiduciary for any employee benefit plan that covers or

includes any PLM employees or members of the Class. Plaintiffs request that these prohibited

transactions be declared void, Defendants be required to restore any losses to the Plan arising

from their ERISA violations, Defendants be ordered to disgorge to the Plan any improper profits,

and any monies recovered for the Plan to be allocated to the accounts of the Class members.




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                                 JURISDICTION AND VENUE

       11.     This action arises under Title I of ERISA, 29 U.S.C. §§ 1001 et seq., and is

brought by Plaintiffs under ERISA § 502(a), 29 U.S.C. § 1132(a), to require Horizon to make

good to the Plan losses resulting from its violations of the provisions of Title I of ERISA, to

obtain appropriate equitable relief against Horizon and Selling Shareholders, to restore to the

Plan any profits that have been made by breaching fiduciaries and parties in interest through the

use of Plan assets, and to obtain other appropriate equitable relief and legal remedies in order to

redress violations and enforce the provisions of ERISA.

       12.     This Court has subject matter jurisdiction over this action pursuant to ERISA

§ 502(e)(1), 29 U.S.C. § 1132(e)(1).

       13.     Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because the Plan is administered in this District, because some of the events or

omissions giving rise to the claims occurred in this District, and because one or more Defendants

reside or may be found in this District. The Plan is administered in Newport, Kentucky.

                                            PARTIES

       14.     Plaintiff Karen Merrow is and has been a Plan participant, as defined in ERISA

§ 3(7), 29 U.S.C. § 1002(7), since the adoption of the Plan effective on January 1, 2017. Plaintiff

Merrow resides in Milledgeville, Georgia. She held several positions at PLM, the most recent

being a Retail Merchandising Manager. She was employed there from 2004 to 2019. She was

vested in shares of PLM in her Plan account.

       15.     Plaintiff Thomas Jordan is and has been a Plan participant, as defined in ERISA

§ 3(7), 29 U.S.C. § 1002(7), since the adoption of the Plan effective on January 1, 2017. Plaintiff




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Jordan resides in Marietta, Georgia. He was a Set Team Member at PLM. He was employed

there from 2015 to 2020. He was vested in shares of PLM in his Plan account.

       16.     Plaintiff Michael Cross is and has been a Plan participant, as defined in ERISA

§ 3(7), 29 U.S.C. § 1002(7), since the adoption of the Plan effective on January 1, 2017. Plaintiff

Cross resides in Alexander, Arkansas. He was a Set Team Member at PLM. He was employed

there from August 2014 to December 2020. He was vested in shares of PLM in his Plan account.

       17.     Defendant Horizon Bank is an Indiana commercial bank that provides investment

management services, offering estate and retirement planning, financial management, and trust

services. Its headquarters is at 515 Franklin St., Michigan City, Indiana 46360.

       18.     Horizon was the Trustee of the Plan at the time of the ESOP Transaction. Horizon

was a fiduciary of the Plan within the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A),

because it was the trustee within the meaning of ERISA § 403(a), 29 U.S.C. § 1102(a), and

because it exercised discretionary authority or discretionary control respecting management of

the Plan, and/or exercised authority or control respecting management or disposition of the

Plan’s assets, and/or had discretionary authority or discretionary responsibility in the

administration of the Plan.

       19.     Defendant Thomas J. Schuh was at the time of the ESOP Transaction the

President, the Treasurer, and a Director of PLM. He was a selling shareholder in the ESOP

Transaction. He resides or may be found in this District. He resides in Villa Hills, Kentucky, and

is a Director of PLM, headquartered in Newport, Kentucky.

       20.     Defendant Thomas J. Schuh was a party in interest under ERISA § 3(14),

29 U.S.C. § 1002(14), at the time of the ESOP Transaction as a PLM officer, director, and 10

percent or more shareholder of PLM, directly or indirectly. Defendant Schuh was also a party in



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interest to the Plan at the time of the ESOP Transaction as an officer or director, or as an

individual having powers or responsibilities similar to those of officers or directors, of 360

Merchandising Solutions, LLC (“360 Merchandising”), a PLM subsidiary whose employees are

also covered by the Plan.

       21.     Defendant Timothy M. Logsdon was at the time of the ESOP Transaction the

Secretary, the Vice President, and a Director of PLM. He was a selling shareholder in the ESOP

Transaction. He resides or may be found in this District. He resides in Union, Kentucky, and is a

Director of PLM, headquartered in Newport, Kentucky.

       22.     Defendant Timothy M. Logsdon was a party in interest under ERISA § 3(14),

29 U.S.C. § 1002(14), at the time of the ESOP Transaction as a PLM officer, director, and 10

percent or more shareholder of PLM, directly or indirectly. Defendant Logsdon was also a party

in interest to the Plan at the time of the ESOP Transaction as an officer or director, or as an

individual having powers or responsibilities similar to those of officers or directors, of 360

Merchandising.

                                  FACTUAL ALLEGATIONS

       23.     Founded in 1989, PLM bills itself as a company assisting the sales and

merchandising of Corporate Brand consumer products for The Kroger Company, the nation’s

largest supermarket retailer, and providing a multitude of merchandising and operational services

for Kroger’s General Office, divisions, and stores. Kroger is PLM’s only client. PLM’s

headquarters is in Newport, Kentucky, minutes from The Kroger Company’s General Office. In

addition to its Newport location, PLM has representation in Kroger division offices throughout

the Midwest and South.

       24.     PLM was incorporated in Ohio on July 24, 1989.



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       25.     PLM is headquartered at Riverfront Place, 300 Dave Cowens Drive, 8th Floor,

Newport, Kentucky 41071. That address is listed as the Plan Administrator’s address in the

Plan’s Summary Plan Description dated June 2017 (“SPD”).

       26.     PLM stock is not and never was readily tradeable on an established securities

market.

       27.     360 Merchandising was formed in Kentucky in December 2016 as a wholly

owned subsidiary of PLM. 360 Merchandising is a Grocery/ Perishables/ HBC (health and

beauty care) Broker exclusive to Kroger. 360 Merchandising is headquartered at Riverfront

Place, 300 Dave Cowens Drive, Suite 1005, Newport, Kentucky 41071. 360 Merchandising

states it “was developed to focus on the strategic growth of our clients’ consumer products

portfolio at Kroger -the nation’s largest grocery retailer. We work directly with the Kroger

Category Managers & Procurement Managers to bring the highest quality grocery, frozen, dairy

& non-foods brands to the shelf for consumers.”

       28.     PLM adopted the Plan with an effective date of January 1, 2017.

       29.     The Plan is a pension plan within the meaning of ERISA § 3(2), 29 U.S.C.

§ 1002(2), and is subject to ERISA pursuant to ERISA § 4(a)(1), 29 U.S.C. § 1003(a)(1).

       30.     The Plan is a leveraged employee stock ownership plan, or “Leveraged ESOP.”

The Plan was designed to invest primarily in the employer securities of PLM.

       31.     The Plan’s principal asset was PLM stock at all times since the ESOP

Transaction.

       32.     The Plan is an individual account plan, or defined contribution plan, under which

a separate individual account was established for each participant.




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        33.    Employees of PLM and 360 Merchandising are covered by and participate in the

Plan.

        34.    PLM is and was from the inception of the Plan the sponsor of the Plan within the

meaning of ERISA § 3(16)(B), 29 U.S.C. § 1002(16)(B).

        35.    The Plan’s Forms 5500 identify PLM as the sponsor and administrator of the

Plan.

        36.    The Plan’s SPD discloses that PLM is the administrator of the Plan.

        37.    PLM is and was the Plan’s administrator within the meaning of ERISA

§ 3(16)(A), 29 U.S.C. § 1002(16)(A).

        38.    PLM is and was an ERISA fiduciary to the Plan as its administrator.

        39.    PLM is a named fiduciary under the terms of the Plan document, within the

meaning of ERISA § 402(a), 29 U.S.C. § 1102(a).

        40.    The Schedule H, Line 4i, Schedule of Assets (Held at End of Year) in the Plan’s

Forms 5500 represent that PLM is a party in interest to the Plan.

        41.    PLM is and was at the time of the ESOP Transaction a party in interest to the Plan

under ERISA § 3(14), 29 U.S.C. § 1002(14).

        42.    PLM and 360 Merchandising employees who are not covered by a collective

bargaining agreement, or who are covered by a collective bargaining agreement that specifically

refers to the ESOP and provides for coverage under the Plan, must meet two requirements to

participate in the Plan: (1) be age 21 or older; and (2) complete at least 1,000 Hours of Service

within their initial Employment Year or any Plan Year thereafter.

        43.    Employees do not have a choice whether to participate in the Plan as part of their

compensation package or to choose other compensation for their labor. Participation in the Plan



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is automatic and employees cannot change or stop their participation in the Plan while employed

at PLM and 360 Merchandising. The Plan’s SPD informs participants: “Once you meet these

requirements, you will automatically become a Participant on the following January 1 or July 1

(each, an “Entry Date”), if you remain employed by the Employer on that date. . . . You do not

have to take action to enroll in the ESOP, and you may not change or stop your participation in

this Plan during your employment by the Employer.”

       44.     Plaintiffs were automatically enrolled in the Plan under the Plan’s terms, without

their election or assent. Because they worked sufficient Hours of Service, Plaintiffs were

allocated PLM stock to their Plan accounts during their employment, in which they were vested

under the Plan’s terms.

       45.     Plaintiffs’ efforts on the job played a role in the value of the PLM stock owned by

the Plan and allocated to participants’ individual accounts, including their own. The SPD

acknowledges: “each ESOP Participant plays an important role in determining P.L. Marketing’s

financial performance. This is the direct link between your efforts on the job and the value of

your ESOP Account.” The SPD states further: “your efforts influence the future success of P.L.

Marketing, Inc.; those efforts now also influence the value of your retirement Account in the

ESOP.” And it states: “With the ESOP, you now share in the benefits of the Company’s growth

and profitability as well as enjoy competitive pay and other benefits.”

       46.     As Trustee for the Plan, it was Horizon’s duty to ensure that any transactions

between the Plan and Selling Shareholders and between the Plan and PLM, including

acquisitions of PLM stock by the Plan and loans to the Plan, were fair and reasonable and to

ensure that the Plan paid no more than fair market value.




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       47.     PLM appointed Horizon as Trustee of the Plan prior to the ESOP Transaction, at a

time when Selling Shareholders owned the company and controlled it as the sole directors and

senior officers. As Trustee, Horizon had sole and exclusive authority to negotiate and approve

the ESOP Transaction on behalf of the Plan, including the price the Plan paid for PLM stock.

Selling Shareholders, who were the seller-side in the ESOP Transaction, therefore chose the

buyer-side counter-party trustee in the Transaction.

       48.     Horizon received consideration from PLM for its services in the ESOP

Transaction to the buyer-side Plan, in the form of fees and an unlawful indemnification

agreement, under a contract made when the Selling Shareholders owned and ran PLM.

       49.     The Notes to Financial Statements of the Plan’s 2017 Form 5500 explains that the

Plan’s administrative expenses for 2017 were paid by PLM.

       50.     On June 6, 2017, the Plan purchased from Selling Shareholders 1,000,000 shares

of PLM’s common stock for $53,000,000.

       51.     At that time, PLM became 100% employee owned through their ESOP.

       52.     The Plan’s purchase of the PLM shares was financed by a loan from PLM of

$53,000,000, bearing an interest rate of 3.50%, annually, to be repaid over 20 years.

       53.     The Notes to Financial Statements in the Plan’s Forms 5500 report that the Plan’s

investment in PLM common stock and indebtedness to PLM were party-in-interest transactions.

       54.     The Plan’s 2017 and 2018 Forms 5500s were signed by Defendant Logsdon on

behalf of PLM, as plan administrator, under penalty of perjury. The Plan’s 2019 and 2020 Forms

5500 were signed by PLM Vice President Nicholas Basch on behalf of PLM, as plan

administrator, under penalty of perjury.




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       55.     Selling Shareholders were Directors of PLM prior to the ESOP Transaction, at the

time of the 2017 ESOP Transaction, and after the ESOP Transaction to the present. Defendant

Schuh was the President of PLM prior to and at the time of the ESOP Transaction, and

Defendant Logsdon became the President of PLM within a year after the ESOP Transaction and

held that title or the title of Chief Executive Officer (CEO) until in or about 2020. At the time of

the ESOP Transaction, Defendant Logsdon was PLM’s Secretary and Vice President.

       56.     Two additional PLM Directors were appointed after the ESOP Transaction.

Selling Shareholders at all times controlled PLM through their status as Directors, their authority

and/or influence in appointing Directors, due to the company debt they held as sellers in the

ESOP Transaction, and due to the officer positions they held or otherwise controlled by

appointment. PLM’s current senior officers are former lieutenants of Selling Shareholders during

their presidencies.

       57.     Plaintiffs further allege that the following factual allegations in this paragraph will

likely have evidentiary support after a reasonable opportunity for further investigation or

discovery, based on undersigned counsel’s knowledge of ESOP-creation business practices

gleaned from counsel’s experience prosecuting many private company ESOP cases. It is

common practice in the ESOP creation industry for plans to pay for control when the plans

acquire more than 50% of company stock because ESOP trustees assume majority ownership

equates to control. Typically, however, control in fact remains with the selling shareholders who

control the board and senior management and through them retain control. Further, the company

or board can fire the trustee if it does not cooperate, making the voting powers associated with

majority ownership illusory. The Trustee here, Horizon, operated in the same manner, as detailed

below. The Plan paid a control premium or on a control basis for PLM even though the Plan did



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not obtain control over the PLM Board of Directors upon its 2017 purchase of the company.

Further, the Plan did not receive a discount for lack of control. The Plan therefore overpaid for

PLM. Selling Shareholders retained control of the Board as a result of warrants received in

exchange for their PLM shares and other Transaction and/or corporate documents.

       58.     As Trustee, Horizon is subject to liability for a payment by the Plan of more than

fair market value for PLM stock caused by the Plan’s payment of a control premium or on a

control basis where a previous owner or owners retained control of PLM, the Plan’s failure to

receive a discount for lack of control, and/or other factors in Horizon’s faulty valuation of PLM

in the ESOP Transaction.

       59.     PLM has long touted its overreliance exclusively on Kroger’s business as an

advantage. For example, PLM’s website states: “We Are Loyal. We are loyal to each other, to

Kroger and their valued suppliers. We do not have divided interests. We are not beholden to or

distracted by other clients. P.L. Marketing is 100% dedicated to The Kroger Co. and their valued

suppliers. We know exactly who we serve and that creates an exceptional level of dedication and

commitment.”

       60.     PLM’s subsidiary 360 Merchandising likewise touts on its website that it is:

“Proudly and Exclusively Servicing the Kroger Family.”

       61.     There is danger inherent in this business model of reliance on a single customer,

which was realized here.

       62.     Plaintiffs further allege that the following factual allegations in this paragraph will

likely have evidentiary support after a reasonable opportunity for further investigation or

discovery. In the months leading up to the ESOP Transaction and after the ESOP Transaction, in

addition to decreasing the number of employees, PLM reduced the number and size of its teams



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and decreased the number of open positions. In the months leading up to the ESOP Transaction

and after the ESOP Transaction, PLM’s new store projects and store remodels were cancelled or

further delayed.

       63.     PLM’s overreliance on Kroger culminated in 2020 with a reduction in force at

PLM of approximately 40% when Kroger did not renew contracts. The notes to the financial

statements in the Plan’s 2019 Form 5500, filed on October 12, 2020, stated: “During 2020,

several service contracts with the Company’s main customer were not renewed. This nonrenewal

is expected to result in a reduction of gross sales of the Company.”

       64.     The notes to the financial statements in the Plan’s 2020 Form 5500, filed on

October 13, 2021, stated: “During 2020, several service contracts with the Company’s main

customer were not renewed. This nonrenewal resulted in a significant reduction of the

Company’s workforce. Under ERISA, a partial plan termination may occur if a significant

percentage of the Plan participants are terminated due to actions taken by the Plan Sponsor. The

workforce reduction of approximately 40% of the Company’s employees constituted a partial

plan termination as defined by ERISA, which occurs if 20% or more of plan participants are

terminated.”

       65.     PLM’s lost contracts with Kroger resulted in PLM no longer serving all Kroger

divisions, losing four single-source divisions, and reduced Our Brands retail support.

       66.     PLM issued Worker Adjustment and Retraining Notification Act (“WARN”)

notices in 2020. PLM reported the layoffs or furloughs were permanent and cited a contract loss

as the rationale. The affected workers were distributed across several states, including Kentucky,

Ohio, Indiana, and West Virginia.




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       67.     Horizon’s appraisal of PLM stock in the ESOP Transaction was based upon a

combination of income and market valuation techniques. PLM management provided financial

projections to Horizon for the valuation of PLM in the ESOP Transaction, which were

unreasonably optimistic. On information and belief, the appraisal used as comparables

companies that differed from PLM, including by not being reliant on the business of a single

customer.

       68.     In breach of their duty of loyalty to plans and their participants and beneficiaries,

ESOP trustees have defined and employed deficient “industry” standards for themselves alone

that deviate from sound business practices employed by non-ESOP buyers in the so-called “real

world” and required by ERISA. Incentives to Horizon to fail to exercise care, skill, prudence and

diligence in the interest of Plan participants and beneficiaries in the ESOP Transaction by failing

to apply sound business principles of evaluation and to conduct a prudent investigation and

negotiation included the possibility of business from sellers of companies who understood that

Horizon applied a lesser degree of due diligence in ESOP purchases of businesses than is typical

for non-ESOP-buyers’ purchases of businesses, referrals for such work by other service

providers in the ESOP creation and administration business, and engagement as the Plan’s

ongoing trustee after the ESOP Transaction and the fees paid for that engagement.

       69.     Every defense expert counsel has seen testify on the standards of care has talked

about ESOP trustee standards rather than hypothetical prudent persons or hypothetical well-

informed buyers and sellers; such testimony tries to create insular and self-fulling standards that

are incompatible with ERISA standards.

       70.     Plaintiffs further allege that the following factual allegations in this paragraph will

likely have evidentiary support after a reasonable opportunity for further investigation or



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discovery, based on undersigned counsel’s knowledge of ESOP-creation business practices

gleaned from counsel’s experience prosecuting many private company ESOP cases. Horizon did

not perform due diligence in the course of the ESOP Transaction similar to the due diligence that

is performed by third-party buyers in large corporate transactions. Horizon’s due diligence in the

ESOP Transaction was less extensive and thorough than the due diligence performed by third-

party buyers in corporate transactions of similar size and complexity. The Plan overpaid for PLM

stock in the ESOP Transaction due to Horizon’s reliance on unrealistic growth projections,

unreliable or out-of-date financials, improper discount rates, inappropriate comparable

companies, and/or its failure to test assumptions, failure to question or challenge underlying

assumptions, and/or other factors that rendered its valuation of PLM stock in the ESOP

Transaction faulty. The Plan paid too much for a company dependent on one customer, Kroger,

and aside from overreliance on Kroger, the Plan paid too much based on Horizon’s substandard

due diligence and improper valuation.

        71.     “[T]he ESOP world [is] a very incestuous community” because of the “significant

long-term business relationships” resulting from parties working together in many ESOP deals,

and ESOP trustees maintain “extensive and lucrative business relationships” with seller-side

advisors. See Brundle v. Wilmington Tr., N.A., 919 F.3d 763, 771, 779 (4th Cir. 2019) (citation

omitted). On information and belief, Selling Shareholders, through PLM, appointed Horizon to

be the buyer-side trustee on advice of their seller-side ESOP advisors, as is common. An

unconflicted independent fiduciary did not make the appointment.

        72.     Horizon was rewarded with engagement as the Plan’s ongoing trustee by the

Selling Shareholders, who still controlled PLM, after completing the ESOP Transaction to their

satisfaction.



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       73.     As of December 31, 2020, the Plan still had $42,400,000 in acquisition

indebtedness on the $53,000,000 stock purchase loan. That is, only $10,600,000 worth of PLM

stock was paid off in the latest Form 5500 report, and the Plan was in debt for the rest.

       74.     However, carrying on bad appraisal practices from the time of the ESOP

Transaction, the Plan reported in public Form 5500 filings that the PLM stock had a current

value of $87,140,000 at year end 2019, and $63,460,000 at year end 2020. The Plan’s valuation

techniques have been “consistent” at all times, according to the Form 5500 notes to financial

statements, and the Plan’s apparent mis-valuation of PLM stock in annual Forms 5500 after the

Transaction is further circumstantial evidence the stock was overvalued in the 2017 Transaction.

       75.     The Plan suffered losses due to the overvaluation of PLM stock in the ESOP

Transaction and its overpayment for the stock, in an amount to be determined following

discovery and expert analysis of non-public information concerning Horizon’s and its financial

advisor’s valuation and due diligence methodologies, PLM financials and growth projections,

and other documents and information that were considered or should have been considered in the

ESOP Transaction.

       76.     Due to the Plan’s overpayment, the Plan’s participants, whose losses are

coterminous with the Plan’s, received diminished stock allocations, saw their Plan take on

excessive debt to finance the Transaction, and suffered losses to their individual Plan accounts.

       77.     Horizon is liable to the Plan for the difference between the price paid by the Plan

and the fair market value of PLM shares at the time of the ESOP Transaction.

       78.     Selling Shareholders are liable to the Plan to repay the difference between the

price they received and the fair market value of their PLM shares at the time of the ESOP

Transaction.



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        79.    PLM, at a time that it was owned by Selling Shareholders, agreed to indemnify

Horizon in connection with the ESOP Transaction (“Indemnification Agreement”). The

Indemnification Agreement is something of value, potentially worth millions of dollars of

defense costs and/or liability in ERISA private company ESOP litigation.

        80.    Plaintiffs further allege that the following factual allegations in this paragraph will

likely have evidentiary support after a reasonable opportunity for further investigation or

discovery. The Indemnification Agreement does not contain an exemption addressing violation

of the per se prohibited transaction rules under ERISA § 406, but only provides exemptions

where a court finds a loss was a result of negligence or intentional or willful misconduct, which

are not elements of a per se prohibited transaction violation. The Indemnification Agreement

does not require payment of interest or otherwise account for the time value of money should

Horizon ultimately be required to reimburse PLM.

        81.    The Indemnification Agreement is invalid under ERISA § 410(a), 29 U.S.C.

§ 1110(a), as against public policy because Horizon violated its ERISA duties to the Plan, and its

legal defense and liability for the Plan’s losses should not be paid by the company that the Plan

owns.

        82.    Payment by PLM of millions of dollars of attorneys’ fees, costs, litigation

expenses, losses, and liabilities to Horizon necessarily would adversely impact PLM’s equity

value and therefore the value of Plan assets. Direct payment or reimbursement of Horizon’s

attorneys’ fees, costs, litigation expenses, losses, and liabilities by PLM, or the Plan that owns it,

would adversely affect the Plan and Plaintiffs’ and other participants’ financial interests.




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                                      CLAIMS FOR RELIEF

                                              COUNT I

                       Causing Prohibited Transactions Forbidden by
                     ERISA § 406(a), 29 U.S.C. § 1106(a), Against Horizon

       83.     Plaintiffs incorporate the preceding paragraphs as though set forth herein.

       84.     ERISA § 406(a)(1)(A), 29 U.S.C. § 1106(a)(1)(A), prohibits a plan fiduciary, here

Horizon, from causing a plan, here the Plan, to engage in a sale or exchange of any property,

here PLM stock, with a party in interest, here Selling Shareholders, as took place in the ESOP

Transaction.

       85.     ERISA § 406(a)(1)(B), 29 U.S.C. § 1106(a)(1)(B), prohibits Horizon from

causing the Plan to borrow money from a party in interest, here PLM, as took place in the ESOP

Transaction.

       86.     ERISA § 406(a)(1)(D), 29 U.S.C. § 1106(a)(1)(D), prohibits Horizon from

causing the Plan to engage in a transaction that constitutes a direct or indirect transfer to, or use

by or for the benefit of, a party in interest, here Selling Shareholders, of any assets of the Plan, as

took place in the ESOP Transaction with the direct or indirect transfer of Plan assets to Selling

Shareholders as payment for PLM stock.

       87.     The stock and loan transactions between the Plan and the parties in interest were

authorized by Horizon in its capacity as Trustee for the Plan.

       88.     Horizon caused the Plan to engage in prohibited transactions in violation of

ERISA § 406(a), 29 U.S.C. § 1106(a), in the ESOP Transaction.

       89.     ERISA § 409, 29 U.S.C. § 1109, provides, inter alia, that any person who is a

fiduciary with respect to a plan and who breaches any of the responsibilities, obligations, or

duties imposed on fiduciaries by Title I of ERISA shall be personally liable to make good to the


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plan any losses to the plan resulting from each such breach, and additionally is subject to such

other equitable or remedial relief as the court may deem appropriate.

        90.     ERISA § 502(a), 29 U.S.C. § 1132(a), permits a plan participant to bring a suit for

relief to a plan under ERISA § 409 and to obtain appropriate equitable relief to enforce the

provisions of Title I of ERISA or to enforce the terms of a plan.

        91.     Horizon has caused losses to the Plan by the prohibited transactions in an amount

to be proved specifically at trial.

                                              COUNT II

           Breaches of Fiduciary Duty Under ERISA § 404(a), 29 U.S.C. § 1104(a),
                                     Against Horizon

        92.     Plaintiffs incorporate the preceding paragraphs as though set forth herein.

        93.     ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1), requires, inter alia, that a plan

fiduciary discharge his or her duties with respect to a plan solely in the interest of the participants

and beneficiaries, (A) for the exclusive purpose of providing benefits to participants and the

beneficiaries of the plan and defraying reasonable expenses of administering the plan, (B) with

the care, skill, prudence, and diligence under the circumstances then prevailing that a prudent

person acting in a like capacity and familiar with such matters would use in the conduct of an

enterprise of a like character and with like aims, and (D) in accordance with the documents and

instruments governing the plan insofar as such documents and instruments are consistent with

ERISA.

        94.     The fiduciary duty of loyalty entails a duty to avoid conflicts of interest and to

resolve them promptly when they occur. A fiduciary must always administer a plan with an “eye

single” to the interests of the participants and beneficiaries, regardless of the interests of the

fiduciaries themselves or the plan sponsor.


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       95.     ERISA § 409, 29 U.S.C. § 1109, provides, inter alia, that any person who is a

fiduciary with respect to a plan and who breaches any of the responsibilities, obligations, or

duties imposed on fiduciaries by Title I of ERISA shall be personally liable to make good to the

plan any losses to the plan resulting from each such breach, and additionally is subject to such

other equitable or remedial relief as the court may deem appropriate.

       96.     ERISA § 502(a), 29 U.S.C. § 1132(a), permits a plan participant to bring a suit for

relief to a plan under ERISA § 409 and to obtain appropriate equitable relief to enforce the

provisions of Title I of ERISA or to enforce the terms of a plan.

       97.     Horizon was required to undertake an appropriate and independent investigation

of the fair market value of PLM stock in or about June 2017 in order to fulfill its fiduciary duties,

and an appropriate investigation would have revealed that the valuation used for the ESOP

Transaction did not reflect the fair market value of the PLM stock purchased by the Plan.

       98.     Horizon was required to act independently on behalf of the Plan, to probe

projections and other information provided by PLM management, and it did not adequately do

so.

       99.     Horizon was required to negotiate for the Plan to pay no more than fair market

value for PLM stock in the ESOP Transaction, and it failed to do so.

       100.    Horizon breached its duties under ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1).

       101.    Horizon has caused losses to the Plan by its breaches of fiduciary duty in an

amount to be proved specifically at trial.

                                             COUNT III

                      Violations of ERISA §§ 410 and 404(a)(1)(A), (B),
                  29 U.S.C. §§ 1110 and 1104(a)(1)(A), (B), Against Horizon

       102.    Plaintiffs incorporate the preceding paragraphs as though set forth fully herein.


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          103.   ERISA § 410(a), 29 U.S.C. § 1110(a), provides in relevant part (with exceptions

not applicable here) that “any provision in an agreement or instrument which purports to relieve

a fiduciary from responsibility or liability for any responsibility, obligation, or duty under this

part [Part IV of Subtitle B of Title I of ERISA] shall be void as against public policy.” As ERISA

§ 406 is under Part IV, any provision that attempts to relieve Horizon, a Plan fiduciary, of

responsibility or liability is void pursuant to ERISA § 410(a) unless there is an exception or

exemption. No such exception or exemption is applicable to the Count I claim here.

          104.   ERISA § 409, 29 U.S.C. § 1109, provides, inter alia, that any person who is a

fiduciary with respect to a plan and who breaches any of the responsibilities, obligations, or

duties imposed on fiduciaries by Title I of ERISA shall be personally liable to make good to the

plan any losses to the plan resulting from each such breach, and additionally is subject to such

other equitable or remedial relief as the court may deem appropriate.

          105.   ERISA § 502(a), 29 U.S.C. § 1132(a), permits a plan participant to bring a suit for

relief to a plan under ERISA § 409 and to obtain appropriate equitable relief to enforce the

provisions of Title I of ERISA or to enforce the terms of a plan.

          106.   The indemnification agreement purports to provide payment or reimbursement for

the benefit of Horizon for its expenses, losses, costs, and damages, including but not limited to

attorneys’ fees.

          107.   To the extent that the indemnification agreement attempts to relieve Horizon of its

responsibility or liability to discharge its duties under ERISA, or attempts to have PLM (a Plan-

owned company) and thereby the Plan be responsible for Horizon’s liability for breaches of the

statute, including but not limited to defense costs, such provisions are void as against public

policy.



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        108.    To the extent that any of the fiduciaries of the Plan would agree to the exercise of

such a provision that is void against public policy under ERISA § 410, they breached their

fiduciary duties under ERISA by failing to discharge their duties with respect to the Plan solely

in the interest of the participants and beneficiaries and with the care, skill, prudence and

diligence under the circumstances then prevailing that a prudent person acting in a like capacity

and familiar with such matters would use in the conduct of an enterprise of like character and

aims, in violation of ERISA § 404(a)(1)(A) and (B), 29 U.S.C. § 1104(a)(1)(A) and (B). See also

ERISA § 403(c)(1), 29 U.S.C. § 1103(c)(1).

        109.    As a result of the foregoing, should it be held liable under the preceding Count I,

Horizon should be ordered to disgorge any indemnification payments made by PLM and/or the

Plan, plus interest.

                                            COUNT IV

      Knowing Participation in ERISA Violations Pursuant to 29 U.S.C. § 1132(a)(3),
                              Against Selling Shareholders

        110.    Plaintiffs incorporate the preceding paragraphs as though set forth herein.

        111.    ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), permits a plan participant to bring a

civil action to obtain appropriate equitable relief to enforce the provisions of Title I of ERISA or

to enforce the terms of a plan.

        112.    The Supreme Court has held that anyone, including a non-fiduciary, who receives

the benefit of conduct that violates ERISA may be subject to equitable remedies under ERISA

§ 502(a)(3) if they have “actual or constructive knowledge of the circumstances that rendered the

transaction unlawful.” Harris Trust & Sav. Bank v. Salomon Smith Barney, Inc., 530 U.S. 238,

251 (2000).




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       113.    As a result of the prohibited stock transaction described above, Selling

Shareholders received Plan assets in payments above fair market value for their PLM stock.

       114.    Selling Shareholders were parties in interest to the Plan under ERISA § 3(14),

29 U.S.C. § 1002(14), as described above.

       115.    Selling Shareholders knew or should have known (1) about the existence of the

Plan, (2) about the Plan’s purchase, directly or indirectly, of their PLM stock in the ESOP

Transaction, (3) that Horizon was the fiduciary trustee to the Plan, (4) that they were PLM

officers and directors or otherwise parties in interest to the Plan as 10% or more shareholders or

as 360 Merchandising officers or directors or individuals with similar powers and

responsibilities, and (5) that Horizon caused the Plan to engage in the prohibited stock

transaction.

       116.    As parties to the stock purchase agreement containing the terms of the Plan’s

stock purchase from Selling Shareholders and countersigned by Horizon on behalf of the Plan, as

the sellers of $53 million in stock with an interest in having knowledge of and competently

negotiating the Transaction, as officers and directors of PLM that chose Horizon to be the Plan

Trustee and who led management that provided company financials and projections and other

information to Horizon and its valuator for purposes of valuation and due diligence, and as

officers and directors of PLM which participated in the loan component of the transaction under

Selling Shareholders’ authorization, Selling Shareholders were aware of sufficient facts that the

ESOP Transaction constituted a prohibited transaction. Selling Shareholders are liable for

knowingly participating in violations of ERISA § 406(a)(1)(A) and (D), 29 U.S.C.

§ 1106(a)(1)(A) and (D), alleged in Count I.




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         117.   As a result of the ERISA § 404(a) breaches of fiduciary duty described above,

Selling Shareholders received Plan assets in payments above fair market value for their PLM

stock.

         118.   Selling Shareholders knew or should have known that the Plan overpaid for PLM

stock and that Horizon’s investigation was inadequate. PLM was a party to the ESOP

Transaction, provided company information to the buyer side, and appointed Horizon as

fiduciary Trustee and thus had a duty to monitor. Selling Shareholders, as the senior PLM

officers and as directors, knew or should have known facts regarding the scope of Horizon’s due

diligence, the information management provided to Horizon and its advisors, and company

valuations, sufficient to give them knowledge of Horizon’s fiduciary breaches. Selling

Shareholders knew or should have known such facts as participants in the Transaction. They

knew or should have known such facts because PLM could not give a $53 million loan without

due diligence known to the director and officer Selling Shareholders and without their approval.

         119.   Selling Shareholders are liable for the violations alleged in Count II.

         120.   Selling Shareholders have profited from the prohibited stock transaction and

breaches of fiduciary duty in an amount to be proven at trial, and upon information and belief,

they remain in possession of some or all of the assets that belong to the Plan.

         121.   Selling Shareholders are subject to appropriate equitable relief including

disgorgement of any ill-gotten gains they received in connection with the ESOP Transaction,

accounting for profits, having a constructive trust placed on any proceeds received (or which are

traceable thereto), reformation of the ESOP Transaction contracts to provide the Plan pays no

more than fair market value for PLM stock as of the date of the Transaction and to give the Plan

powers or other consideration for which it paid but did not receive including control of PLM,



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having the transaction rescinded, requiring all or part of the consideration to be restored to the

Plan, or to be subject to other appropriate equitable relief.

                                CLASS ACTION ALLEGATIONS

       122.    Plaintiffs bring this action as a class action pursuant to Fed. R. Civ. P. 23(a) and

(b), on behalf of the following class:

       All vested participants in the P.L. Marketing, Inc. Employee Stock Ownership
       Plan (“Plan”) and the beneficiaries of such participants as of the date of the June
       6, 2017 ESOP Transaction or anytime thereafter. Excluded from the Class are the
       shareholders who sold their P.L. Marketing, Inc. (“PLM”) stock to the Plan,
       directly or indirectly, and their immediate families; the directors and officers of
       PLM and their immediate families; and legal representatives, successors, and
       assigns of any such excluded persons.

       123.    The Class is so numerous that joinder of all members is impracticable. Although

the exact number and identities of Class members are unknown to Plaintiffs at this time, the

Plan’s most recent Form 5500 filing reports that as of December 31, 2020, there were 1,964

participants in the Plan.

       124.    Questions of law and fact common to the Class as a whole include, but are not

limited to, the following:

               i.      Whether Horizon served as Trustee in the Plan’s acquisition of PLM

                       stock;

               ii.     Whether Horizon was an ERISA fiduciary of the Plan;

               iii.    Whether Horizon caused the Plan to engage in prohibited transactions

                       under ERISA by permitting the Plan to purchase PLM stock and take

                       loans from parties in interest;

               iv.     Whether Horizon engaged in good faith valuations of the PLM stock in

                       connection with the ESOP Transaction;



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               v.      Whether Horizon caused the Plan to pay more than fair market value for

                       PLM stock;

               vi.     Whether Horizon breached its fiduciary duty to undertake an appropriate

                       and independent investigation of the fair market value of PLM stock on or

                       about June 6, 2017;

               vii.    Whether PLM was a party in interest and gave a loan to the Plan;

               viii.   Whether Selling Shareholders were parties in interest;

               ix.     Whether Selling Shareholders knowingly participated in the prohibited

                       stock transaction and breaches of fiduciary duty;

               x.      The amount of losses suffered by the Plan and its participants as a result of

                       Horizon’s ERISA violations; and

               xi.     The appropriate relief for Defendants’ violations of ERISA.

       125.    Plaintiffs’ claims are typical of those of the Class. For example, Plaintiffs, like

other Plan participants in the Class, suffered a diminution in the value of their Plan accounts

because the Plan paid above fair market value and took on an excessive loan for PLM stock,

resulting in them being allocated fewer shares of stock, and they continue to suffer such losses in

the present because Horizon failed to correct the overpayment by the Plan.

       126.    Plaintiffs will fairly and adequately represent and protect the interests of the

Class. Plaintiffs have retained counsel competent and experienced in complex class actions,

ERISA, and employee benefits litigation.

       127.    Class certification of Plaintiffs’ Claims for Relief for the alleged violations of

ERISA is appropriate pursuant to Fed. R. Civ. P. 23(b)(1) because adjudications with respect to

individual Class members would as a practical matter be dispositive of the interests of non-party



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Class members, and/or because the prosecution of separate actions by individual Class members

would create a risk of inconsistent or varying adjudications which would establish incompatible

standards of conduct for Horizon.

       128.    The names and addresses of the Class members are available from the Plan.

Notice will be provided to all members of the Class to the extent required by Fed. R. Civ. P. 23.

                                    PRAYER FOR RELIEF

       Wherefore, Plaintiffs pray for judgment against Defendants and for the following relief:

       A.      Declare that Defendant Horizon caused the Plan to engage in prohibited

               transactions and thereby breached its duties under ERISA;

       B.      Declare that Defendant Horizon breached its fiduciary duties under ERISA to the

               Plan and the class members;

       C.      Declare that Selling Shareholders knowingly participated in a prohibited

               transaction with the Plan and Horizon’s breaches of fiduciary duty in violation of

               ERISA;

       D.      Order Defendants to make good to the Plan and/or to any successor trust(s) the

               losses resulting from the violations of ERISA and disgorge any profits they made

               through use of assets of the Plan;

       E.      Order reformation of the ESOP Transaction contracts to provide the Plan pays no

               more than fair market value for PLM stock as of the date of the transaction, to

               provide the Plan receives that for which it paid including control of PLM where it

               paid a control premium or on a control basis for PLM but did not obtain control of

               the PLM board of directors under contractual governance provisions, and any

               other appropriate reformation;



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       F.    Order rescission of the ESOP Transaction;

       G.    Order that Defendants provide other appropriate equitable relief to the Plan and its

             participants and beneficiaries, including but not limited to surcharge by any

             fiduciary defendant, providing an accounting for profits, and imposing a

             constructive trust and/or equitable lien on any funds wrongfully held by

             Defendants;

       H.    Order the proceeds of any recovery for the Plan to be allocated to the accounts of

             the class members to make them whole for any injury that they suffered as a result

             of the breaches of ERISA in accordance with the Court’s declaration;

       I.    Order the allocation to the accounts of the class members of the additional shares

             of stock that would have been allocated but for the Plan’s overpayment on

             company stock and Defendants’ breaches of ERISA;

       J.    Enjoin Horizon from acting as a fiduciary for any employee benefit plan that

             covers or includes any PLM employees or members of the Class;

       K.    Declare that the indemnification agreement between Defendant Horizon and PLM

             violates ERISA § 410, 29 U.S.C. § 1110, and is therefore null and void;

       L.    Order Defendant Horizon to reimburse PLM for any money paid by PLM under

             any indemnification agreement between Horizon and PLM, plus interest;

       M.    Award Plaintiffs reasonable attorneys’ fees and costs of suit incurred herein

             pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g), and/or for the benefit obtained

             for the common fund;




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       N.      Enjoin Defendants from dissipating any of the proceeds they received from the

               Transaction held in their actual or constructive possession until the Plan

               participants’ rights can be adjudicated;

       O.      Enjoin Defendants from transferring or disposing of any of the proceeds they

               received from the Transaction to any person or entity, which would prejudice,

               frustrate, or impair the Plan participants’ ability to recover the same;

       P.      Order Defendants to pay prejudgment and post-judgment interest;

       Q.      Certify this action as a class action pursuant to Fed. R. Civ. P. 23, certify the

               named Plaintiffs as class representatives and their counsel as class counsel; and

       R.      Award such other and further relief as the Court deems equitable and just.


 Dated:     October 5, 2022                           Respectfully submitted,

                                                      BAILEY & GLASSER LLP

                                                      /s/ Christina T. Natale
                                                      Christina T. Natale
                                                      Gregory Y. Porter (pro hac vice to be filed)
                                                      Ryan T. Jenny (pro hac vice to be filed)
                                                      1055 Thomas Jefferson St., NW
                                                      Suite 540
                                                      Washington, DC 20007
                                                      Telephone: (202) 463-2101
                                                      Facsimile: (202) 463-2103
                                                      cnatale@baileyglasser.com
                                                      gporter@baileyglasser.com
                                                      rjenny@baileyglasser.com

                                                      Attorneys for Plaintiffs




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